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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,                                     Case No: 15-20201-3

v.

BRANDON SIMS
                                       /


                      ORDER OF DETENTION PENDING TRIAL

      After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. §

3142(f), I conclude that these facts require that Defendant be detained pending trial.



Part I – Findings of Fact

A.    Eligibility. This case is eligible for a Detention Hearing (18 U.S.C. § 3142(f)),
      for the reasons checked below in this Part I A:

☒(1) Under 18 U.S.C. § 3142(f)(1), upon the government’s motion in a case that
           involves

      ☒(a) a crime of violence, a violation of section 1591, or an offense listed in
           2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or
           more is prescribed; or

      ☐(b) an offense for which the maximum sentence is life imprisonment or death;

             or

      ☐(c) an offense for which a maximum term of imprisonment of ten years or
           more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-
           904), the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-
           971), or Chapter 705 of Title 46; or

      ☐(d) any felony if such person has been convicted of two or more offenses
           described in subparagraphs (a) through (c) of this paragraph, or two or
           more State or local offenses that would have been offenses described in
           subparagraphs (a) through (c) of this paragraph if a circumstance giving


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            rise to Federal jurisdiction had existed, or a combination of such offenses;
            or

      ☐(e) any felony that is not otherwise a crime of violence but involves:

            ☐(i)   a minor victim, or

            ☐(ii) the possession or use of a firearm or destructive device (as defined
                  in section 921), or

            ☐(iii) any other dangerous weapon, or

            ☐(iv) involves a failure to register under 18 U.S.C. § 2250.

☒(2) Under 18 U.S.C. 3142(f)(2), upon the government’s motion or the court’s own
     motion in a case that involves

      ☒(a) a serious risk that such person will flee; or

      ☐(b) a serious risk that such person will obstruct or attempt to obstruct justice,
           or threaten, injure, or intimidate, or attempt to threaten, injure, or
           intimidate, a prospective witness or juror.

B.    Rebuttable Presumption. A rebuttable presumption for detention exists in
      this case if reasons are checked below in this Part I B.

(1)   Defendant on Release Pending Trial (18 U.S.C. § 3142 (e)(2)): A rebuttable
      presumption that no condition or combination of conditions will reasonably assure
      the safety of another person or the community arises when

      ☐(a) Defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1),
           and has previously been convicted of a crime listed in 18 U.S.C. §
           3142(f)(1), or comparable state or local offense; and

      ☐(b) The offense was committed while Defendant was on release pending trial
           for a federal, state, or local offense; and

      ☐(c) A period of less than five years has elapsed since

            ☐(i)   the date of conviction, or

            ☐(ii) Defendant’s release from prison.




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(2)   Probable Cause Findings (18 U.S.C. § 3142(e)(3)): A rebuttable presumption
      that no condition or combination of conditions will reasonably assure the
      appearance of the person as required and the safety of the community arises
      when there is probable cause to believe that Defendant has committed an
      offense

      ☐(a) for which a maximum prison term of ten years or more is prescribed in the
           Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled
           Substances Import and Export Act (21 U.S.C. §§ 951-971), or Chapter
           705 of Title 46; or

      ☐(b) under 18 U.S.C. § 924(c) (use of a deadly or dangerous weapon or device
           in relation to a crime of violence or drug trafficking crime), 18 U.S.C. §
           956(a) (conspiracy to kill, kidnap, maim, or injure persons or damage
           property in a foreign country), or 18 U.S.C. § 2332b (acts of terrorism
           transcending national boundaries); or

      ☐(c) listed in 18 U.S.C. § 2332b(g)(5)(B) (federal crimes of terrorism) for which
            the prison term is 10 or more years; or

      ☐(d) under Chapter 77 of Title 18, United States Code, for which a maximum
           term of imprisonment of 20 years or more is prescribed (i.e., 18 U.S.C. §§
           1581, 1583, 1584, 1589, and 1594)(slavery); or

      ☐(e) involving a minor victim as listed in 18 U.S.C. § 3142(e)(3)(E).

Part II – Statement of the Reasons for Detention

      I find that the testimony and information submitted at the detention hearing

establishes

☐      by clear and convincing evidence that, for the reasons set forth below, there is no
condition or combination of conditions which will reasonably assure the safety of the
community; or

☐     by a preponderance of the evidence that, for the reasons set forth below, there is
no condition or combination of conditions which will reasonably assure Defendant’s
appearance; or

☒     both of the above.




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Statement of reasons for detention pursuant to 42 U.S.C. § 3142(i):

       The government proffered evidence demonstrating by clear and convincing

evidence that Brandon Sims is a danger to the community, including evidence that Sims

admitted to being a member of the “Related Through Money” gang, whose members

are alleged in the First Superseding Indictment to have committed murder and robbery.

The government proffered that he participated in and planned to participate in “smash

and grab” robberies of jewelry stores, that he posted on Facebook a photograph of a

Rolex watch that had been stolen, and that he asserted on a recorded telephone call

that he had been riding around with an AK-47 style weapon looking for someone to rob.

Further, the government presented the Court will numerous photographs that Sims

posted on Facebook, each of which showed him prominently brandishing one or more

firearms or various types and sizes, including an AK-47 style weapon. In this latter

photograph, Sims alluded to shooting up a playground.

       Additionally, Sims’ criminal history raises concerns that he will not appear as

directed. Specifically, Sims committed a new crime while he was on probation and was

convicted of felony escape and flight. Although this conduct is part of Sims’ juvenile

record, it took place within the last four years and is therefore relevant to the question of

whether he is likely to appear as directed.

Part III – Directions Regarding Detention

       Defendant is committed to the custody of the Attorney General or a designated

representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or held in custody pending

appeal. Defendant must be afforded a reasonable opportunity to consult privately with

defense counsel. On order of a United States Court or on request of an attorney for the


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Government, the person in charge of the corrections facility must deliver Defendant to

the United States Marshal for a court appearance.

      Review of this Order is governed by 18 U.S.C. § 3145 and E.D. Mich. L.R. 57.2.

Date: May 1, 2015                               s/Elizabeth A. Stafford
                                                Elizabeth A. Stafford
                                                United States Magistrate Judge




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